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 1   DAVID A. TORRES AND ASSOCIATES
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 2   1318 K. Street
     Bakersfield, CA 93301
 3   Tel: (661)326-0857
     Fax: (661)326-0936
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 5

 6
                            IN THE UNITED STATES DISTRICT COURT
 7
                          FOR THE EASTERN DISTRICT of CALIFORNIA
 8

 9
                                                    )   Case No.1:11-CR-00353AWI-BAM-5
     UNITED STATES OF AMERICA,                      )
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                                                    )
                    Plaintiff,                      )   STIPULATION AND ORDER TO
11
                                                    )   CONTINUE CHANGE OF PLEA
            vs.                                     )   HEARING
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                                                    )
     ISRAEL MARTIN DEL CAMPO,                       )
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                                                    )
                    Defendant                       )
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     TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
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     ANTHONY W. ISHII AND ELANA LANDAU, ASSISTANT UNITED STATES
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     ATTORNEY:
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            COMES NOW Defendant, ISRAEL MARTIN DEL CAMPO, by and through his
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     attorney of record, DAVID A. TORRES hereby requesting that a Change of Plea Hearing that is
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     currently set on April 29, 2013 at 10:00 a.m. be continued to Monday, May 6, 2013.
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            On April 22, 2013 I filed a stipulation and order to have the Change of Plea Hearing
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     advanced to April 29, 2013. In reviewing my upcoming calendar I became aware of a sentencing
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     hearing that had been previously scheduled in the United States District Court of Colorado in the
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     case of U.S. v. Raul Avina-Lopez; 06-cr-0444. I have notified AUSA Elana Landau of this
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     conflict, she has no objection to continuing the change of plea to Monday, May 6, 2013.
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                                       Summary of Pleading - 1
          Case 1:11-cr-00353-DAD-BAM Document 65 Filed 04/26/13 Page 2 of 3


 1         IT IS SO STIPULATED.

 2   DATED: April 25, 2013                   Respectfully Submitted,

 3                                           /s/ David A Torres         ___
                                             DAVID A. TORRES
 4                                           Attorney for Defendant
                                             Israel Del Campo
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 6
     DATED: April 25, 2013                   /s/Elana Landau ________
 7                                           ELANA LANDAU
                                             Assistant U.S. Attorney
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                               Summary of Pleading - 2
                           Case 1:11-cr-00353-DAD-BAM Document 65 Filed 04/26/13 Page 3 of 3

                           IT IS SO ORDERED that the Change of Plea hearing be continued to Monday, May 6,
 1
     2013.
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 5   IT IS SO ORDERED.

 6   Dated: April 25, 2013
                                                           SENIOR DISTRICT JUDGE
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     DEAC_Signature-END:




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     0m8i788

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                                                   Summary of Pleading - 3
